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Kevin/Deborah,

We want to make you aware of an urgent situation involving The Refuge for DMST (“The Refuge”), a
residential operation located in Bastrop, Texas that serves female victims of commercial sex trafficking
between the ages of 11‐17. As of 3.4.22, 11 youth were placed there – six through DFPS child‐specific
contracts, three through OCOK, one through ICPC (out of state) and one through private pay (parental
placement).

During an almost six‐week period beginning on 1.24.22, DFPS received multiple intakes alleging SXAB,
NSUP, PHAB, EXPC and MDNG at this operation. Among them, on 1.24.22, a current Refuge employee
contacted Statewide Intake alleging NSUP and SXAB of two youth by a former Refuge employee.
Specifically, the reporter alleged that while employed at the operation, the former employee sold nude
photos of two youth in care, using the proceeds to purchase illegal drugs and alcohol which were
supplied to the youth. Because the intake involved alleged human trafficking, local law enforcement and
the Texas Department of Public Safety were immediately notified and a CPI Special Investigator was
assigned to the case. Between 1.24.22 and 3.4.22, Statewide Intake received eight intakes, all alleging
human trafficking by the former employee. However, during the investigative process, RCCI discovered
several additional staff still employed at the operation appeared to be involved, and that many of them
were related to one another by blood or marriage and/or were cohabiting.

On 3.4.22, DFPS learned that the operation’s residential care director, who had heretofore appeared
cooperative throughout the investigation, now appeared to have prior knowledge of the alleged SXAB.
DFPS immediately issued an informal placement hold, notified OCOK of the informal hold, and began
searching for new placements for the legacy youth residing there. On 3.8.22, DFPS staff held an
emergency meeting after which a formal placement hold was issued. To ensure the youth’s safety, DFPS
deployed CPS staff and off‐duty law enforcement to the facility. On 3.9.22, DFPS held a FITS II staffing
with HHSC to discuss the recent intakes and investigations and next steps. CPS staff and off‐duty law
enforcement remained at the facility until all youth were removed. By mid‐afternoon on 3.9.22, all
youth in DFPS care were removed; eight of the 9 have already been placed in other less restrictive
placements that specialize in serving victims of commercial sex trafficking. The remaining youth was
scheduled to relocate to another placement, but has since refused. DFPS continues to search for other
placement options for this youth. Forensic interviews with the youth were completed on 3.9.22

The investigation opened on 1.24.22 is presently on extension. During the next week, multiple RTBs are
expected to issue concerning multiple alleged perpetrators. One staff member has been arrested and
we anticipate additional arrests and criminal charges will ensue.



Current/Next Steps:

       Effective immediately, Statewide Intake will designate all intakes alleging human trafficking
        during the previous six months as a Priority 1. Prior to this practice change, human trafficking
        allegations were designated a Priority 1 if they involved an alleged perpetrator having ongoing
        access to the alleged victim(s).
       Effective immediately, Statewide Intake will notify DFPS executive leadership staff of intakes
        alleging human trafficking of children/youth in residential care, including the Deputy
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         Commissioner and CPI and CPS Associate Commissioners. Likewise, RCCI field staff will notify
         RCCI leadership of any investigation involving alleged human trafficking of children/youth in
         residential care.
        Even if a residential operation’s staff are terminated, DFPS must conduct a full assessment of
         the operation to understand all contributing circumstances.
        RCCI is evaluating whether disciplinary/personnel action is warranted based on staff’s
         knowledge of certain facts and corresponding actions/inaction.

We will keep you updated as additional information becomes available.



Thank you,



Tara
